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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

LISA BRITTIAN,                        }
     Plaintiff,                       }      CIVIL ACTION NUMBER:
                                      }
v.                                    }             1:24-CV-5078
                                      }
JESSE COLE KENT,                      }
     Defendant.                       }

       NOTICE OF INSUFFICIENT SERVICE OF PROCESS;
NOTICE OF FAILURE TO OBTAIN LEGAL, AUTHORIZED SUMMONS;
 NOTICE OF FAILURE TO OBTAIN ORDER AUTHORIZING SERVICE
               BY PRIVATE PROCESS SERVER

      COMES NOW Defendant, Jesse C. Kent, who hereby notifies the Court as

follows:

      This Defendant freely waived service of the summons and acknowledged

service of this matter on or about November 7, 2024, and copies were provided to

the Plaintiff both by undersigned counsel and by this Court. Yet on November 20,

2024 a person holding themselves out as a “process server” appeared at Defendant’s

home to purportedly serve paperwork in this suit. That person did not provide a

name or any identification and was clearly not a Marshall or Sheriff’s Officer.

      The purported “process server” did, however, provide a full copy of the

pleading in this matter – which is the same lawsuit and paperwork that Defendant

already acknowledged service of and waived summons in nearly two weeks prior on

or about November 7, 2024.
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      Furthermore, there record is devoid of any Order authorizing the use of a

private process server to effectuate service as required by FRCP 4, and this Plaintiff

still has failed to obtain a proper Summons from this Court, as is likewise required

by FRCP 4. Thus, the November 20, 2024 attempt at service has no legal effect and

is void.

      Because this Defendant already acknowledged service and waived summons,

because Plaintiff already mailed a copy of her lawsuit to Defendant even after

summons was waived, because Plaintiff failed to obtain an order appointing a private

process server, because the Summons supplied is invalid and this Plaintiff still has

not attempted to obtain a valid Summons, and because of this Plaintiff’s failures to

follow the appropriate rule of law, it is clear that Plaintiff has undertaken this conduct

solely to intimidate and harass this Defendant.          In light of such, Defendant

anticipates that Defendant will promptly file for an injunction against this Plaintiff

and this notice is provided to make the court aware of the Plaintiff’s conduct.




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Respectfully submitted, this 20th day of November, 2024.



       This 20th day of NOVEMBER , 2024.


 /s/   Jesse C. Kent
Jesse C. Kent
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                      CERTIFICATE OF COMPLIANCE

        Pursuant to Local Rule 7.1(D), undersigned counsel certifies that this

document has been prepared in Times New Roman, 14-point font, which is one of

the four font and point selections approved by the Court in Local Rule 5.1(C).

        This 20th day of NOVEMBER, 2024.


  /s/   Jesse C. Kent
Jesse C. Kent
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                        CERTIFICATE OF SERVICE

       This is to certify that I have this day electronically filed the foregoing
NOTICE OF IMPROPER SERVICE and that such filing complies with Local Rule
5.1(A)(3) by using the CM/ECF system, which will send notification of such filing
to all parties and/or counsel; I have also mailed a copy of the same to: LISA
BRITTIAN, PO BOX 90021, ATLANTA, GA 30364.

      This 20th day of NOVEMBER , 2024.


   /s/ Jesse C. Kent
Jesse C. Kent
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